      Case 1:02-cr-01435-LAP Document 420 Filed 01/12/21 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

-against-                                    No. 02-CR-1435 (LAP)

DERICK JOHNSON,                                       ORDER

                    Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

     The Court is in receipt of Defendant Derick Johnson’s

request that the Court reconsider releasing him to home

confinement in light of a COVID-19 outbreak at the Metropolitan

Detention Center (“MDC”) in Brooklyn, where he is housed.              (See

dkt. no. 419; dkt. no. 419-1.)

     This is not Mr. Johnson’s first motion for a sentence

reduction.   On April 27, 2020, Mr. Johnson filed a motion for

compassionate release based on the ongoing COVID-19 pandemic and

his “chronic asthma.”    (Dkt. no. 400 at 3.)      The Court denied

that motion, finding, inter alia, that Mr. Johnson would pose a

danger to the community if released.       (See id. at 5-6.)     In so

holding, the Court observed that Mr. Johnson (1) had “committed

an incredibly serious and violent offense as a gang member,

involving the possession and distribution of a substantial

quantity of drugs and the possession of a dangerous weapon that

was used to murder William Ragland,” and (2) had “been

disciplined on numerous occasions” while in BOP custody.           (Id.)


                                    1
         Case 1:02-cr-01435-LAP Document 420 Filed 01/12/21 Page 2 of 2



     Considering those findings, the Court determines that, even

if the COVID-19 outbreak at the MDC constitutes “extraordinary

and compelling reasons” warranting release, those considerations

are outweighed by Mr. Johnson’s continued danger to the

community if released.       Accordingly, Mr. Johnson’s motion for

reconsideration [dkt. no. 419] is DENIED.           The Clerk of the

Court shall (1) close the open motion and (2) mail a copy of

this order to Mr. Johnson.

SO ORDERED.

Dated:       January 12, 2021
             New York, New York


                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




                                       2
